Case eo Doc 164 Filed 04/27/01 age 1 of 12

ORIGINAL

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: )
)
W. R. GRACE & CO., et al., ) Chapter 11
)
) Case No. 01-01139(JJF)
Debtors. ) (Jointly Administered)
)
)
W.R. GRACE & CO., )
et al., )
)
Plaintiffs, )
)
-against- )
) Adversary No. A-01-771
MARGARET CHAKARIAN, et al., )
and JOHN DOES 1-1000, )
)
Defendants. )
_)

DEBTORS’ OPPOSITION TO PAUL PRICE’S
MOTION TO SHORTEN TIME FOR HEARING
ON HIS MOTION TO LIFT STAY

Debtors oppose Paul Price’s motion to shorten time for a hearing on his Motion to

for Relief from the Automatic Stay as Proposed Class Representative in In re Zonolite Attic

Insulation Products Liability Litigation, MDL 1376 (the “Attic Fill MDL”), because there is no

emergency that would justify shortening the time and because it would be unreasonable to
require Debtors to respond to all of the arguments raised in his twenty page brief in three
business days.

First, Mr. Price has identified no emergency that would necessitate hearing this
motion on May 3, 2001. Mr. Price asserts that this motion should be heard at the same time as

Debtors’ Motion for a Preliminary Injunction Staying All Asbestos-Related and Fraudulent

Transfer Claims Against Affiliated Entities because it “addresses the same issues.” This is / ‘a e
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Case se Doc 164 Filed 04/27/01 eo” 2 of 12

simply not true. Debtors’ motion seeks to stay asbestos actions against affiliates whose liability
is derivative of Debtors’ asbestos liability. Mr. Price, in contrast, seeks to lift the automatic stay
in a purported nationwide attic fill class action asserting asbestos claims against Grace. These
two motions raise completely different substantive issues. Second, Mr. Price’s motion to shorten
time should be denied because it would be unreasonable to require Debtors to respond to the
numerous arguments made in Mr. Price’s twenty page brief in three business days.

Further, as Debtors will explain in more detail when they file their opposition
brief, Mr. Price’s motion lacks any merit. First, the whole purpose of Debtors’ bankruptcy filing
was to develop a plan for dealing with its asbestos liabilities as set forth in Debtors’
Informational Brief. One of the most critical aspects of that plan is addressing the merits of the
Zonolite attic fill claims. As set forth in the Informational Brief, Debtors intend to address these
issues in their bankruptcy proceeding. Mr. Price wants to pretend that the bankruptcy proceeding
does not exist and to proceed with his claims in the Massachusetts court. The attic fill cases,
however, raise issues which are inextricably intertwined with the issues arising in Debtors’ other
asbestos claims, and should be dealt with as part of Debtors’ Chapter 11 reorganization.

Second, because Debtors have filed for relief under Chapter 11, there is no need
for the class action procedure to resolve asbestos-related claims against the Debtors. This Court
has the authority under Chapter 11 to group asbestos claimants as appropriate for claims

estimation or claims resolution purposes and to adjudicate common issues among asbestos

claimants. See In re Dow Coming Corp., 211 B.R. at 554; In re Dow Corning Corp., 215 B.R.

346, 348 (Bankr. E.D. Mich. 1997); In re The Babcock & Wilcox Co., 2000 WL 422372 (E.D.

La. 2000). Moreover, the Supreme Court has repeatedly rejected using the class action device to
Case se Doc 164 Filed 04/27/01 eo 3 of 12

resolve asbestos claims. See Amchem Products, Inc. v. Windsor, 521 U.S. 591, 625-26 (1997);

Ortiz v. Fibreboard Corp., 119 S. Ct. 2295, 2302 (1999).

Third, Mr. Price only purports to represent plaintiffs in one of the hundreds of
thousands of asbestos actions pending against Debtors. He has provided no reason why this one
action should be given preference over all other pending asbestos actions. Further, lifting the
stay in this one action could lead to an avalanche of motions to lift the stay in the hundreds of
thousands of other pending asbestos claims.

Finally, the Attic Fill MDL cases are so young that there would be no prejudice

from not allowing them to go forward at this time. See, e¢.g., In re Sonnax Indus., 907 F.2d

1280, 1287 (2"! Cir. 1990); In re Collins, 118 B.R. 35 (Bankr. D. Md. 1990).
Case se Doc 164 Filed 04/27/01 eo 4 of 12

Because there is no emergency and because it would be unreasonable to require
the Debtors to respond in such a short period of time, the Debtors submit that Mr. Price’s motion
to shorten time should be denied.

Wilmington, Delaware Respectfully submitted,

Dated: April 2] , 2001
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: )
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-against- )
) Adversary No. A-01-771
MARGARET CHAKARIAN, et al. )
and JOHN DOES 1-1000, )
)
Defendants. )
)
AFFIDAVIT OF SERVICE
STATE OF DELAWARE )

)SS
COUNTY OF NEW CASTLE )

' The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food "N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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Case se Doc 164 Filed ee 6 of 12

Patricia E. Cuniff, being duly sworn according to law, deposes and says that she is
employed by the law firm of Pachulski, Stang, Ziehl, Young & Jones P.C., co-counsel for the
Debtors, in the above-captioned action, and that on the 27” day of April, 2001 she caused a copy
of the following document(s) to be served upon the attached service list(s) in the manner
indicated:

1. Debtors’ Opposition to Paul Price’s Motion to Shorten Time for

Hearing on his Motion to Lift Stay.

Dated: April 27, 2001 if
Patricia E. Cuniff

Sworn to and subscribed before

oe ee
=

Notary Public

My Commission Expires: z LL Loy

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Case No. 01-1139 (RJN)

Doc. No. 20058

April 27, 2001

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